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                         UNITED STATES DISTRICT COURT
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  12                   CENTRAL DISTRICT OF CALIFORNIA
  13   MOOG INC.,                          Case No. 2:22-cv-09094-GW-MAR
  14
                 Plaintiff,                Hon. George H. Wu
  15
           v.
  16                                       [PROPOSED] ORDER GRANTING
       SKYRYSE, INC., ROBERT               JOINT STIPULATION TO VACATE
  17                                       ALL HEARING DATES, BRIEFING
       ALIN PILKINGTON, MISOOK
  18   KIM, and DOES NOS. 1-50,            DEADLINES, AND CASE
                                           SCHEDULE PENDING
  19             Defendants.               COMPLETION OF SETTLEMENT
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                               #:19122

   1         The Court, having reviewed the stipulation submitted concurrently herewith,
   2   and good cause appearing therefore, hereby ORDERS THAT:
   3         1.    All pending hearing dates, briefing deadlines, and dates in the
   4   Scheduling Order (Dkt. 446) are hereby vacated;
   5         2.    The Court shall schedule a status conference on
   6         __________________________. If the Court receives requests for dismissal
   7         of all claims and counterclaims before the scheduled status conference, then
   8         the Court shall take the status conference off calendar.
   9    IT IS SO ORDERED.
  10   Dated: September_____, 2023
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  12                                          ______________________________
                                                The Honorable George H. Wu
  13                                            United States District Court Judge

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